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              EXHIBIT 4
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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WASHINGTON

RICHARDO SALOM, CATHERINE
PALAZZO as assignee for Ruben Palazzo, and
PETER HACKINEN, on their own behalf and
on behalf of other similarly situated persons,

                  Plaintiffs,

      vs.                                            Case No. 2:24-cv-00444-BJR
NATIONSTAR MORTGAGE LLC
and

FEDERAL HOME LOAN MORTGAGE
ASSOCIATION, on its own behalf and on
behalf of similarly situated persons,

                Defendants.


                         EXPERT REPORT OF MARCEL BRYAR




                                                 1
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I.       Introduction

1.       I have been retained as an expert witness by Troutman Pepper Locke LLP (“Troutman”),

         counsel for one of the defendants in the above-captioned matter, Nationstar Mortgage

         LLC (“Nationstar”).

2.       Nationstar was the servicer of residential mortgage loans made to the plaintiffs in this

         case, Richard Salom, Catherine Palazzo and Peter Hackinen.1 The loans of Mr. Salom

         and Ms. Palazzo were secured by their respective homes in the State of Maryland and Mr.

         Hackinen’s loan was secured by his home in the State of Washington.2

3.       Between 2022 and 2024, Messrs. Salom and Hackinen paid off their loans.3 The loan to

         Ms. Palazzo is still outstanding.4

4.       This case relates to payoff statements requested by each plaintiff from Nationstar. A

         payoff statement shows how much cash a borrower needs by a certain date to pay off the

         borrower’s loan, including accrued interest and any outstanding fees and expenses

         incurred by the borrower in connection with the loan.

5.       Servicers are generally required by federal law to provide a borrower with a payoff

         statement by mail at no charge within seven business days of a borrower’s request.5 Each




1
     Amended Complaint, Salom et al. v. Nationstar Mortgage LLC et al., United States District Court for the
     Western District of Washington, Case No. 2:24-cv-00444-BJR (May 30, 2024) (“Amended Complaint”), ¶¶ 24-
     26.
2
     Amended Complaint, ¶¶ 24-26.
3
     Amended Complaint, ¶¶ 87 & 122.
4
     See MDLANDREC, available at mdlandrec.net (last visited on March 13, 2024).
5
     See 15 U.S.C. 1639g.


                                                      2
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         plaintiff requested expedited delivery of their payoff statements, however, and Nationstar

         charged each of them $25 for the expedited service.6

6.       On June 29, 2022, expedited delivery of Mr. Salom’s payoff statement was requested on

         Nationstar’s web site.7 The site includes a link to Nationstar’s expedited delivery service

         and a written disclosure that informs borrowers that the service costs at least $25.8 Mr.

         Salom’s payoff statement was faxed to him.9 Mr. Salom paid his expedited-delivery fee

         when his loan was paid off on July 12, 2022.10

7.       On September 11, 2023, Ms. Palazzo ordered expedited delivery of a payoff statement for

         her loan on Nationstar’s web site and the site generated the statement for her.11 Ms.

         Palazzo paid the fee for the expedited delivery with her next loan payment.12

8.       Expedited delivery of payoff statements for Mr. Hackinen was ordered four separate

         times.13 Three of the orders, on July 5, 2023, July 21, 2023, and March 11, 2024, were

         made by means of interactive voice response, or IVR.14 In IVR, a borrower

         communicates, by phone, with an automated phone system that allows the borrower to

         receive and communicate information. Nationstar’s IVR discloses that there is a fee for


6
     Amended Complaint, ¶¶ 120-122.
7
     NSM_SALOM 019224.
8
     See NSM_SALOM 020061.
9
     NSM_SALOM 019224; NSM_SALOM 009958.
     The next day, on June 30, 2022, Nationstar sent an amended version of the payoff statement. NSM_SALOM
     009953. Mr. Salom was not charged a fee for the delivery of the amended version. Amended Complaint, ¶ 84.
10
     Amended Complaint, ¶ 84.
11
     NSM_SALOM 005876-5877; Amended Complaint, ¶ 101; Videotaped Zoom Deposition of Catherine Palazzo,
     Salom et al. v. Nationstar Mortgage LLC et al., United States District Court for the Western District of
     Washington, Case No. 2:24-cv-00444-BJR (February 12, 2025) (“Palazzo Depo.”), at 27-28.
12
     Palazzo Depo., at 29.
13
     Amended Complaint, ¶¶ 120-122.
14
     NSM_SALOM 002548-2553; NSM_SALOM 020017-20018.


                                                       3
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         expedited delivery of a payoff statement and requires a borrower to consent to the fee

         before the system will authorize expedited delivery.15 Nationstar received the fourth

         order, on October 5, 2023, from a title company.16 Mr. Hackinen had authorized the title

         company to communicate with Nationstar on behalf of Mr. Hackinen to expedite a

         refinance of Mr. Hackinen’s loan and the title company requested expedited delivery of a

         payoff statement from Nationstar.17

9.       Mr. Salom ordered his payoff statement in connection with the sale of the property that

         secured his loan.18 Mr. Hackinen used his payoff statements to facilitate a refinance of

         his loan, taking out a new mortgage loan to pay off the one serviced by Nationstar.19

10.      I have reviewed the Amended Complaint in this case and it is my understanding that

         plaintiffs claim that Nationstar’s fee for the expedited service was not expressly

         authorized by their loan agreements or permitted by law.

11.      Troutman has asked me to opine, based on my expertise in mortgage industry standards,

         on two questions.

                 i.      Was the expedited-service fee charged by Nationstar permitted by
                         mortgage industry standards, including standards established by
                         federal government agencies?
                 ii.     Are Nationstar’s policies and procedures for payoff statements
                         designed to comply with industry standards and applicable laws?




15
      See NSM_SALOM 020056.
16
      NSM_SALOM 002552.
17
      NSM_SALOM 002551; NSM_SALOM 001492-1494; NSM_SALOM 000038-40.
18
      Amended Complaint, ¶ 84.
19
      Amended Complaint, ¶ 122.


                                                  4
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12.       Plaintiffs have produced in this case reports by four people: (i) Andrew G. Pizor; (ii)

          David L. Friend (the “Friend Report”); (iii) Bernard Jay Patterson; and (iv) Thomas A.

          Tarter (the “Tarter Report”).20

13.       All of the opinions expressed in this report are my own. My opinions are based on,

          among other things, my review of the materials listed in Appendix A attached hereto and

          my knowledge, skill, experience, training and education in mortgage servicing industry

          norms and standards, including the norms and standards that govern servicing fees,

          including the expedited-service fee at issue in this case.

14.       The opinions presented in this report are mine and mine alone. My compensation in this

          case is at a rate of $850 per hour. My compensation is in no way contingent on my

          findings or on the outcome of this or any other matter.

15.       I may supplement this report and expand or modify the opinions stated herein based on

          my review of additional material as it becomes available through discovery, through any

          additional work I perform, or through review of additional work performed by others.

II.       Executive Summary

16.       Based on my review of the materials set forth in Appendix A and my experience in the

          mortgage industry, I have developed the following regarding the questions posed to me

          by Troutman.




20
      Preliminary Report of Andrew G. Pizor, Salom et al. v. Nationstar Mortgage LLC et al., United States District
      Court for the Western District of Washington, Case No. 2:24-cv-00444-BJR (February 7, 2025); Preliminary
      Expert Witness Report of David L. Friend, Salom et al. v. Nationstar Mortgage LLC et al., United States
      District Court for the Western District of Washington, Case No. 2:24-cv-00444-BJR (February 7, 2025); Expert
      Witness Report of Bernard Jay Patterson, Salom et al. v. Nationstar Mortgage LLC et al., United States District
      Court for the Western District of Washington, Case No. 2:24-cv-00444-BJR (February 7, 2025); Expert Report
      of Thomas A. Tarter, Salom et al. v. Nationstar Mortgage LLC et al., United States District Court for the
      Western District of Washington, Case No. 2:24-cv-00444-BJR (February 10, 2025).


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17.    The expedited delivery fees charged by Nationstar are permitted by industry standards.

       Nationstar’s servicing of plaintiffs’ loans are governed by standards established by Fannie

       Mae and Freddie Mac, known collectively as the government sponsored enterprises, or

       GSEs, and by the federal regulator and conservator of the GSEs, the Federal Housing

       Finance Agency, or FHFA. The GSEs and FHFA have made it clear that a servicer may

       charge a fee for the expedited delivery of a payoff statement. Moreover, other federal

       agencies that insure or guarantee residential mortgage loans, including the Federal

       Housing Administration and the Department of Veterans Affairs, have indicated that a

       servicer is authorized to charge the fees.

18.    The fees are part of a compensation structure for servicers that the GSEs and FHFA have

       designed to make loans affordable to borrowers while at the same time ensuring that

       servicing is profitable. The GSEs need servicers – such as Nationstar – to service their

       loans and servicing needs to be profitable for servicers to make the investments necessary

       to service loans in accordance with GSE servicing guidelines. A portion of a servicer’s

       compensation comes from servicing fees, which are paid out of borrowers’ interest

       payments. However, the GSEs and FHFA limit servicing fees and, therefore, the interest

       rate a borrower must pay for a loan by permitting servicers to have other sources of

       revenue, such as the expedited delivery service fees at issue in this case. Moreover, the

       expedited delivery service fees are charged only to borrowers who affirmatively consent

       to pay them and, therefore, can presumably afford to pay them.

19.    Finally, it is clear that Nationstar’s policies and procedures are designed to ensure

       Nationstar charges expedited delivery fees in accordance with industry standards and

       applicable law. Nationstar’s counsel review the policies and procedures to ensure that



                                                    6
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        they comply with the standards, and Nationstar has invested – and continues to invest –

        millions of dollars in the systems that Nationstar uses to process and respond to requests

        for expedited delivery of payoff statements.

III.    Qualifications

20.     I graduated from Yale College in 1987 and Yale Law School in 1993. I have worked in

        the mortgage industry full time since 2000.

21.     I am currently a founder and Managing Director of Mortgage Policy Advisors LLC

        (“MPA”). MPA was formed in April 2020 and took over the business of Bryar &

        Wollner LLC (“B&W”), a firm I had founded in September 2014. MPA advises and

        provides consulting services to, among others, mortgage originators, servicers,

        technology companies and service providers on matters concerning the mortgage and real

        estate industries, including compliance with mortgage industry regulations and standards

        and the management of the requirements of mortgage investors, guarantors (e.g., Fannie

        Mae and Freddie Mac, the government sponsored enterprises, or GSEs)) and insurers

        (e.g., the Federal Housing Administration, or FHA, and the U.S. Department of Veterans

        Affairs, or VA). As a Managing Director for MPA (and during my time with B&W), I

        have worked on numerous projects relating to the servicing of loans and servicer

        compensation.

22.     Prior to founding B&W, I was employed for over 14 years by two of the largest financial

        firms in the mortgage industry. I worked at Fannie Mae from 2000 to 2012. Fannie Mae

        guarantees against default residential mortgage loans that meet its origination and

        underwriting criteria and are pooled into Fannie Mae residential mortgage-backed

        securities, or RMBS. From 2012 to 2014, I worked for JPMorgan Chase Bank, N.A.

        (“Chase”), in its mortgage bank as a Senior Vice President for operations.

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23.       From 2000 to 2004, I was an Associate General Counsel at Fannie Mae. My

          responsibilities included providing legal advice and negotiating complex transactions

          with Fannie Mae vendors and business partners in connection with Fannie Mae’s

          development and implementation of technology tools designed to facilitate the

          origination, processing, closing, recordation, servicing and securitization of mortgage

          loans, including the creation of promissory notes and mortgages and the delivery of

          collateral documents to custodians. I also worked on contracts for Fannie Mae’s

          custodial, securitization and servicer oversight operations.

24.       In 2005, I worked on the implementation of regulatory agreements between Fannie Mae

          and its safety and soundness regulator, known at the time as the Office of Federal

          Housing Enterprise Oversight (“OFHEO”).21 The regulatory agreements required Fannie

          Mae to, among other things, change its risk-management practices, including practices

          related to credit, interest, portfolio and counterparty risk. Fannie Mae’s counterparties

          include mortgage servicers. I also worked on the development of Fannie Mae’s program

          for compliance with the Sarbanes-Oxley Act.22

25.       In 2006, I was appointed Director, Policies & Programs, at Fannie Mae. In that capacity,

          among other things, I developed, implemented and managed Fannie Mae’s framework

          governing all of its policies and procedures, including policies and procedures related to

          risk management, collateral documents, mortgage loan securitization and master

          servicing.




21
      The agency was abolished in 2008 and replaced by the Federal Housing Finance Agency. See Housing and
      Economic Recovery Act of 2008, Pub. L. No. 110-289 (July 30, 2008).
22
      The Sarbanes-Oxley Act of 2002, Pub. L. No. 107-204 (July 30, 2002).


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26.       In 2006, I was assigned responsibility for managing Fannie Mae’s compliance with a

          Consent Order entered into between Fannie Mae and OFHEO. I oversaw Fannie Mae’s

          implementation of the Consent Order’s requirements and reported on Fannie Mae’s

          compliance status to OFHEO. The Consent Order required Fannie Mae to develop and

          implement, among other things, enhancements to its governance of credit, market and

          portfolio risks.

27.       In 2007, I was appointed the head of Fannie Mae’s regulatory team, with responsibility

          for managing Fannie Mae’s relationship with OFHEO and its housing goals regulator at

          the time, the U.S. Department of Housing and Urban Development.23 Under my

          supervision, the team worked on regulatory exams, commented on proposed regulations

          and performed regulatory reporting.

28.       In 2008, the Federal Housing Finance Agency (“FHFA”) was established and was made

          responsible for the effective supervision, regulation and housing mission oversight of

          Fannie Mae and Freddie Mac.24

29.       In or about June 2009, I became responsible for managing the Fannie Mae team charged

          with the administration of the Making Home Affordable (“MHA”) program. President

          Obama launched MHA under the Troubled Asset Relief Program. MHA consisted of a

          number of foreclosure prevention programs, including programs to modify delinquent

          loans and to allow short sales, in which a delinquent borrower sells their home for less

          than the borrower owes on his or her loan. President Obama announced MHA on




23
      HUD’s housing goal responsibilities were transferred to FHFA in connection with the formation of FHFA in
      2008. See Housing and Economic Recovery Act of 2008, Pub. L. No. 110-289 (July 30, 2008).
24
      Federal Housing Finance Agency, “FHFA At-A-Glance,” available at https://www.fhfa.gov/About.


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          February 18, 2009, and the U.S. Department of the Treasury (“Treasury”) contracted with

          Fannie Mae the same day to serve as the program’s administrator.25

30.       In my capacity as leader of Fannie Mae’s program administration team, I directed all of

          Fannie Mae’s work on behalf of Treasury, including the development and drafting of

          program guidelines and the oversight of mortgage loan servicers. MHA applied to all

          GSE and government-insured loans (including loans insured by FHA and VA), and to

          servicers covering nearly 90% of all other outstanding loans in the United States (i.e.,

          non-GSE and non-government-insured loans).26

31.       In the spring of 2011, I led the Fannie Mae team responsible for working with Freddie

          Mac and FHFA on FHFA’s servicing alignment initiative. FHFA launched the initiative

          for Fannie Mae and Freddie Mac to develop uniform guidelines for servicing delinquent

          mortgages. In particular, FHFA directed the GSEs to agree on standards for borrower

          contact, delinquency management practices, loan modifications and foreclosure

          timelines. FHFA also instructed the GSEs to specify uniform servicer incentives and

          penalties, based on the servicers’ performance against those standards. As part of this

          initiative, the GSEs worked together to adopt uniform, state-specific foreclosure timelines

          applicable to GSE mortgage loans.27 I was responsible for working with master servicing

          and credit policy teams from both GSEs.




25
      Financial Agency Agreement for a Homeownership Preservation Program under the Emergency Economic
      Stabilization Act of 2008, effective as February 18, 2009, by and between the U.S. Department of the Treasury
      and Fannie Mae.
26
      Congressional Oversight Panel, “December Oversight Report: A Review of Treasury’s Foreclosure Prevention
      Programs,” December 14, 2010, at 40.
27
      For information concerning the alignment initiative, see Federal Housing Finance Agency, “Servicing
      Alignment Initiative Frequently Asked Questions,” available at https://www.fhfa.gov/faqs/servicing-alignment-
      initiative.


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32.    In or about June 2011, I became responsible for overseeing all of the vendors that worked

       with servicers of Fannie Mae loans to mitigate losses from loan delinquencies. In this

       role, I worked as part of Fannie Mae’s master servicing team (i.e., the Fannie Mae team

       responsible for performing servicer oversight), and I managed numerous loss-mitigation

       services, including property preservation, lender placed insurance, mortgage insurance

       and foreclosure notices. I also managed a team that reviewed expenses incurred by

       servicers in connection with the servicing of Fannie Mae loans, including legal, property

       preservation and valuation expenses. Finally, I participated in the negotiation with

       servicers of compensatory fee and mortgage insurance compensation claims.

33.    From 2009 to 2011, I also worked with teams responsible for making repurchase

       demands. Fannie Mae has required lenders to repurchase a substantial number of loans

       that, according to Fannie Mae, were not originated in accordance with Fannie Mae’s

       underwriting criteria. In addition, Fannie Mae demanded, in its capacity as an investor in

       non-GSE and non-government insured loans, compensation for losses Fannie Mae

       incurred as a result of its investments in non-GSE RMBS.

34.    In 2012, I left Fannie Mae and began work at Chase. My responsibilities included but

       were not limited to: (i) implementing for Chase the provisions of the 2012 National

       Mortgage Settlement with Chase and other mortgage loan servicers governing the

       servicing of performing and non-performing loans, (ii) remediating MHA issues and (iii)

       managing credit reporting, loan boarding and loan transfer operations. During my time at

       Chase, I managed a large mortgage loan servicing transfer to Chase, and I also managed

       the transfers of loans from Chase to other servicers. In addition, I was responsible for the

       boarding of new loans to Chase’s servicing operation. I also participated in the process



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          of preparing Chase’s annual servicing Regulation AB reports and attestation reports.28

          Finally, I negotiated disputes with the GSEs regarding compensatory fees and investor

          claims.

35.       I have worked on a number of engagements in my capacity as a Managing Director at

          MPA (and, before that, B&W). Among other things, I worked on a project to restructure

          Freddie Mac’s trustee function for Freddie Mac RMBS. This project required me to

          define and document the roles and responsibilities of the various teams within Freddie

          Mac with responsibility for issuing and managing Freddie Mac’s RMBS. I also worked

          with various mortgage servicers and originators, the GSEs and government mortgage

          insurers (e.g., FHA) on projects to address federal and state regulatory issues and

          mortgage program matters arising out of the COVID-19 pandemic. Finally, I have

          worked on various complex projects regarding foreclosures, the conveyance of GSE and

          FHA properties, investor claims and the preservation of properties that secure delinquent

          mortgage loans. My clients have included FICO, National General Lender Services, Inc.

          (a lender-placed insurance company), and GLS Solutions LLC, a mortgage servicer.

36.       In sum, I have extensive experience working on mortgage operations and business

          models – including the people, processes and tools necessary to originate, service and

          securitize mortgage loans – and working with industry stakeholders and regulators. My

          work in the mortgage industry has involved me on a regular basis in determining servicer

          compensation and the standards that govern the servicing of loans. I am also fully

          familiar with notes and security instruments for mortgage loans.




28
      Asset-Backed Securities (Regulation AB), 17 C.F.R. §§ 229.1100 – 229.1125.


                                                        12
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37.    A copy of my curriculum vitae is attached to this report as Appendix B. A list of cases

       and proceedings in which I have provided expert testimony in the past four years is

       attached to this report as Appendix C.

IV.    Background

               A.      Mortgage Loans

38.    A mortgage loan is a loan secured by a security interest in a real estate property.

39.    A borrower signs two documents to obtain a mortgage loan: a promissory note (or,

       simply, a “note”) and a security instrument. A note is a borrower’s promise to pay back

       the loan and a security instrument authorizes the lender – and any subsequent owner of

       the loan – to foreclose on the property securing the loan if the borrower defaults on the

       note.

40.    Any borrower may pay off a residential mortgage loan early, either by selling the

       property securing the loan or by refinancing the loan. Early payoffs are common. As

       explained above, Mr. Salom requested a payoff statement in connection with the sale of

       his home and Mr. Hackinen requested his payoff statements in connection with a

       refinance of his loan.

               B.      RMBS

41.    After their origination, the vast majority of mortgage loans are sold into RMBS. RMBS

       are created to facilitate investments in mortgage loans. To create an RMBS, loans are

       pooled by a seller and conveyed to an RMBS trust. Beneficial ownership of certificates

       for a trust is sold to investors and the certificates entitle the investors to a share of the

       cash flow generated by the loans in the trust.




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42.       Currently, most mortgage loans are in RMBS created by Fannie Mae and Freddie Mac,

          two government sponsored enterprises, or GSEs, or by issuers approved by Ginnie Mae, a

          government agency. RMBS created by the GSEs or by issuers approved by Ginnie Mae

          are known as agency RMBS. The loans in Ginnie Mae RMBS are loans insured by

          government agencies, including the Federal Housing Administration, or FHA. The

          GSEs, Ginnie Mae and government insurers of mortgage loans are commonly referred to

          as the agencies. The loans of Mr. Salom and Ms. Palazzo serviced by Nationstar were in

          GSE RMBS.29

43.       Some RMBS were created by private issuers. RMBS created by private issuers are

          commonly referred to as private label security RMBS, or PLS RMBS. Mr. Hackinen’s

          loan was in a PLS RMBS.30

44.       As of the third quarter of 2024, the outstanding balance of mortgage loans in agency

          RMBS was equal to approximately $9.3 trillion.31 By comparison, the balance for PLS

          RMBS was $500 billion.32

                   C.      GSEs

45.       The GSEs are chartered by the U.S. Congress. Congress passed statutes that created each

          GSE and some provisions of those charters supersede state and local laws. For example,

          under the charters, the GSEs are not liable for state or local taxes.33



29
      Amended Complaint, ¶¶ 76 & 94.
30
      Amended Complaint, ¶ 114.
31
      Housing Finance Policy Center, Housing Finance at a Glance: A Monthly Chartbook (January 2025) (“January
      2025 Monthly Chartbook”), at 6.
32
      January 2025 Monthly Chartbook, at 6.
33
      Federal National Mortgage Association Charter Act, Title III of the National Housing Act, 12 U.S.C. 1716 et
      seq. (As amended through July 25, 2019), § 309(c)(2); Federal Home Loan Mortgage Corporation Act, Public
      Law No. 91-351, 84 Stat. 450 (Approved July 24, 1970, As amended through January 3, 2023), § 303(e).


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46.       The GSEs have been in conservatorship since September 2008. The GSEs were

          originally created as private entities that managed their own businesses. During the

          financial crisis, however, the safety and soundness regulator of the GSEs, the Federal

          Housing Finance Agency, or FHFA, placed the GSEs in conservatorship because the

          GSEs were at risk of failing. Under the conservatorships, “FHFA has the powers of the

          management, boards, and shareholders” of the GSEs.34 FHFA is a federal regulator with

          power to issue regulations that govern the businesses of the GSEs.

                   D.      Servicing

47.       The agencies do not service the loans in their RMBS. Instead, they delegate that work to

          mortgage servicers – such as Nationstar. Servicers perform numerous tasks in connection

          with loans, including sending out monthly statements to borrowers, collecting borrower

          payments and forwarding them for remittance to investors, making property tax and

          hazard insurance payments for borrowers with escrow account and releasing a borrower

          from his or her mortgage after the loan is paid off or refinanced. When a borrower

          defaults, the servicer attempts to resolve the delinquency.

48.       The agencies issue extensive guidelines regarding the servicing of their loans and they

          update their guidelines on a regular basis. Since the GSEs were placed in

          conservatorship, FHFA has been responsible for approving all GSE servicing guidelines.

          The agencies require servicers to abide by agency servicing guidelines, and, if the

          agencies authorize a servicing practice, that practice is permitted under industry standards

          unless expressly prohibited by law.

                   E.      Economics of Servicing


34
      https://www.fhfa.gov/conservatorship.


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49.    Servicers are paid a servicing fee. The fee is paid by each borrower. A borrower pays off

       his or her loan in monthly installments, with a portion of each monthly payment paying

       down the loan’s principal balance and the rest of the payment applied to interest on the

       unpaid portion of that balance. The servicing fee, in turn, represents a portion of the

       interest paid by the borrower. The servicing fee for GSE loans is generally equal to the

       product of a quarter of percentage point (i.e., 0.25%) and a loan’s unpaid principal

       balance. For example, if a GSE loan has an interest rate of 6% and, as of a particular

       month, the unpaid principal balance of the loan is equal to $100,000, the interest paid on

       that balance is equal to $6,000 (6% times $100,000) and the servicing fee is equal to $500

       of the $6,000 (0.5% times $100,000). As a result, of the interest paid by the borrower,

       $5,500 goes to investors in the borrower’s loan and $500 goes to the servicer of the

       borrower’s loan.

50.    Servicers also make money by providing ancillary services to borrowers for a fee. An

       ancillary service is a service provided to a borrower in connection with the borrower’s

       mortgage loan. For example, facilitating the assumption by a new borrower of an old

       borrower’s loan, canceling a mortgage or recasting the repayment term of a mortgage.

       The expedited delivery of payoff statements – the service at issue in this case – is an

       ancillary service.

              F.      Payoff Statements

51.    Producing a payoff statement is not a simple or otherwise clerical task. To prepare one, a

       servicer needs to account for not only a loan’s outstanding balance but also the interest

       accrued on the loan since the borrower’s last payment, any fees the borrower owes in

       connection with the loan and any refunds due to the borrower. In addition, each

       borrower’s circumstances are different, adding additional complexity to the preparation

                                                16
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       of payoff statements. For example, while one borrower may need only to pay a loan’s

       unpaid principal balance and accrued interest, another borrower may owe fees to the

       servicer and have insurance proceeds in escrow with the servicer that were paid in

       connection with a hazard insurance claim arising out of damage to the borrower’s home,

       and a third borrower may owe fees and costs incurred by the lender in connection with a

       borrower’s delinquency. To produce payoff statements, servicers must design their

       systems and processes to account for all of these scenarios.

V.     Analysis and Opinions

              A.      The Expedited-Service Fee Is Consistent with Industry Standards –
                      Including Standards Established by the Government Agencies that
                      Oversee Servicing

52.    The mortgage industry standards that govern the servicing of residential mortgage loans

       authorize servicers to charge fees for ancillary services provided to borrowers – including

       fees for expediting the delivery of payoff statements. The fees help make mortgage loans

       more affordable to all mortgage borrowers while, at the same time, providing servicers

       with sufficient revenue to justify the investments servicers make to service those loans in

       accordance with industry standards.

53.    As acknowledged by Messrs. Friend and Tarter in their reports for plaintiffs, the servicing

       of the At-Issue Loans was governed by mortgage industry standards. The standards that

       govern ancillary services are set forth in the servicing guidelines of the GSEs because, as

       noted above, the lenders that made the At-Issue Loans required plaintiffs to sign the GSE

       form of note and security instrument.

54.    The servicing guide for one of the GSEs, Fannie Mae, makes clear that the “other fees”

       referenced in the GSE form of security instrument includes fees for expedited services.



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          Section A2-3-05 of the Fannie Mae servicing guide provides that servicers are allowed to

          charge borrowers fees for providing ancillary services, including, but not limited to,

          expedited services – such as the expedited payoff statements provided to plaintiffs –

          because a servicer’s servicing fee “is not intended to encompass certain additional work

          that the servicer performs at the borrower’s request or on the borrower’s behalf.”35

55.       In addition, the government agency responsible for managing the GSEs while they are in

          conservatorship, FHFA, has made it clear that servicers are authorized to charge

          borrowers for expedited delivery of payoff statements. A September 27, 2011, discussion

          paper on servicer compensation compiled by FHFA, stated that “[s]ervicers are also

          entitled to certain ancillary fees under the Servicing Guidelines [of the GSEs], which

          include, among other things, late fees assessed on delinquent payments, charges for

          issuing payoff statements, fax charges, biweekly payment fees, and advertising

          supplement fees.”36

56.       The FHFA and GSE approach to servicer compensation is followed by government

          insurers of mortgage loans, such as the FHA. The September 27, 2011, discussion paper

          on servicer compensation mentioned above was a product of a joint effort by FHFA,

          Ginnie Mae and FHA.37 In addition, the servicing guide published by FHA makes clear

          that a servicer is permitted to charge fees for expedited delivery of a payoff statement.38


35
      Fannie Mae, Servicing Guide, § A2-3-05, Fees for Certain Servicing Activities (11/08/2017).
36
      Alternative Mortgage Servicing Compensation Discussion Paper (September 27, 2011) (“September 27
      Compensation Paper”), at 6 (emphasis added).
      FHFA and the GSEs also recognize that some ancillary fees may be prohibited by laws that are not superseded
      by FHFA’s regulatory authority or the charters of the GSEs. This does not change the fact that, to the extent
      ancillary fees are not prohibited by such laws, the GSEs permit the fees.
37
      September 27 Compensation Paper, at 2.
38
      Federal Housing Administration, FHA Single Family Housing Policy Handbook 4000.1 (January 10, 2025), §
      III.A.1.f.ii.A., at 1172 & Appendix 3.0.


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57.       Other regulators also recognize that services are entitled to charge fees for ancillary

          services and that such fees are common practice within the industry. For example, the

          Office of the Comptroller of the Currency has indicated that depository institutions are

          permitted to charge fees for expedited delivery of payoff statements.39 In addition, in a

          2016 survey, the Department of Veterans Affairs (“VA”) determined that servicers charge

          up to $30 for processing payoff statements.40 Moreover, VA’s regulations authorize the

          department to charge its borrowers up to $30 to process a payoff statement.41

58.       Finally, the GSE form of security instrument authorizes a servicer – such as Nationstar –

          to “charge Borrower fees for services performed in connection with Borrower’s default,

          for purpose of protecting Lender’s interest in the Property and rights under this Security

          Instrument, including, but not limited to, attorneys’ fees, property inspection and

          valuation fees.”42 The form also provides that, “[i]n regard to any other fees, the absence

          of express authority in this Security Instrument to charge a specific fee to Borrower shall

          not be construed as a prohibition on the charging of such fee.”43 The security instruments

          for plaintiffs’ loans include these provisions.44




39
      Comptroller of the Currency, Interpretive Letter #1069 (August 21, 2006).
40
      81 Fed. Reg. 74382, 74385.
41
      38 CFR 36, §36.4529(5).
42
      See, e.g., WASHINGTON--Single Family – Fannie Mae/Freddie Mac UNIFORM INSTRUMENT, Form 3048
      07/2021 (rev. 09/22), § 15(b); MARYLAND--Single Family – Fannie Mae/Freddie Mac UNIFORM
      INSTRUMENT, Form 3021 07/2021, § 15(b).
43
      See, e.g., WASHINGTON--Single Family – Fannie Mae/Freddie Mac UNIFORM INSTRUMENT, Form 3048
      07/2021 (rev. 09/22), § 15(c); MARYLAND--Single Family – Fannie Mae/Freddie Mac UNIFORM
      INSTRUMENT, Form 3021 07/2021, § 15(c).
44
      Hackinen Security Instrument, § 14, NSM_SALOM 00005-000019, at 000014; Palazzo Security Instrument, §
      14, NSM_SALOM 002562-2575, at 002571; Salom Security Instrument, § 14, NSM_SALOM 005882-5898, at
      005891.


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59.       In his report, Mr. Friend claims that the GSE form of security instrument does not

          “expressly authorize” a servicer to charge a fee for the expedited delivery of a payoff

          statement.45 There are at least three problems with this claim.

60.       First, the GSE form of security instrument clearly states that servicers may charge fees

          for ancillary services, which include expedited delivery of payoff statements. Mr. Friend

          does not explain what he means by the term “expressly authorize” as used in his report.

          But if Mr. Friend is asserting that the form does not authorize the charging of expedited-

          delivery fees for payoff statements because the form does not refer specifically to

          expedited-delivery fees for payoff statements, then he is missing the forest for the trees.

          In their forms and servicing guidelines, the GSEs regularly authorize or prohibit multiple

          different types of servicer actions without identifying each authorization or prohibition

          specifically. For example, the GSE servicing guides regularly prohibit servicers from

          violating “applicable law” without advising servicers of which laws are applicable to

          servicing work.46

61.       Second, both Fannie Mae and the conservator of the GSEs, FHFA, make clear that the

          fees authorized by the form of security instrument include expedited-delivery fees. Mr.

          Friend acknowledges in his report that, among other things, the “requirements of Fannie

          Mae, Freddie Mac … establish much of the customary and usual servicing practices

          expected to be adhered to by servicers …”47 But Mr. Friend makes no reference to the


45
      Friend Report, at 2.
46
      See, e.g., Fannie Mae, Servicing Guide, F-1-17, Processing a Transfer of Ownership (11/13/2024) (“Once
      Fannie Mae returns the executed assignment of mortgage to the servicer, the servicer is authorized to execute
      the assumption or assumption and release agreement, as applicable, must record the agreement if required by
      applicable law, and must send a copy of the executed agreement (original recorded, if applicable) to its
      document custodian.”) (emphasis added).
47
      Friend Report, at 4.


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          fact that, in its servicing guide, Fannie Mae states clearly that a servicer may charge fees

          for expedited delivery of payoff statements and, in its public statements, FHFA makes

          clear that a servicer may charge fees in connection with payoff statements.

62.       Third, I have worked extensively on servicing compensation issues with FHFA and both

          GSEs, including during the 12 years I worked as an attorney and business executive at

          Fannie Mae, and, in my experience, it is generally accepted by officials at those agencies

          that servicers may elect to charge ancillary fees, including fees for the expedited delivery

          of payoff statements. FHFA and the GSEs spend a considerable amount of time

          discussing the appropriate level of compensation for servicers. In all of the FHFA and

          GSE discussions I have participated in regarding servicer compensation, I have never

          heard anyone suggest, much less propose, that the GSEs should prohibit servicers from

          charging fees for ancillary services. Instead, I have heard officials from FHFA and both

          GSE discuss the fact that servicers charge fees for ancillary services and also indicate that

          those fees are consistent with industry standards.

63.       In the Amended Complaint, plaintiffs claim that the expedited-service fees at issue in this

          case “are nothing more than junk fees added unfairly or deceptively to the accounts of

          mortgage borrowers and thousands of other consumers by Nationstar.”48 That is not how

          such fees are treated by FHFA or the GSEs. As noted above, the GSEs depend on

          servicers to manage GSE loans. As a result, the GSEs run the risk that, if servicer

          compensation is inadequate, servicers will not make the investments necessary to

          properly service GSE loans or, if servicer compensation is too high, loans will not be

          affordable for borrowers. In February 2011, FHFA published a paper in coordination


48
      Amended Complaint, ¶ 5.


                                                   21
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          with Ginnie Mae and FHA that describes this balancing act.49 The paper notes that the

          goal of FHFA and GSE work on servicing compensation is, among other things, to

          provide borrowers with “[a]ccess to a competitive, inexpensive mortgage market” while

          at the same time ensuring that servicing is “profitable.”50

64.       Ancillary service fees help FHFA and the GSEs strike a balance between servicer

          profitability and affordability for borrowers. In the September 27, 2011, FHFA

          discussion paper on servicer compensation mentioned above, FHFA publicly stated that

          ancillary fees support a goal that benefits the GSEs and borrowers: encouraging servicers

          to keep borrowers current on their loans. After listing various types of servicer

          compensation, including ancillary fees, the paper notes that “[a]s a result of the

          compensation structure described above, a servicer is incented to keep loans current, or to

          restore loans to a performing status, in order to maintain their servicing fee cash flows.”51

          At the same time, the fees make loans affordable for mortgage borrowers. As explained

          above, servicers earn servicing fees and ancillary fees. Without the ancillary fees, FHFA

          and the GSEs would have to increase the servicing fee for loans. That increase would, in

          turn, increase the cost of loans for every borrower since, as explained above, the

          servicing fee is paid out of a loan’s interest income, which is paid by all borrowers. With

          the ancillary fees, on the other hand, the only borrowers who pay them are borrowers

          who elect, voluntarily, to use ancillary services. At the same time, all borrowers –

          including the ones who elect to use ancillary services – pay lower interest rates.



49
      Servicing Compensation Initiative pursuant to FHFA Directive in Coordination with HUD: Background and
      Issues for Consideration (February 2011) (“Servicing Compensation Initiative White Paper”).
50
      Servicing Compensation Initiative White Paper, at 4.
51
      September 27 Compensation Paper, at 7.


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65.       The balancing act managed by FHFA and the GSEs is based on a practical reality.

          Managing the economics of servicing is like shaping a water balloon, where the water in

          the balloon represents the revenue necessary to ensure loans are affordable to borrowers

          and, at the same time, to make servicing profitable for servicers. Squeezing one part of

          the balloon – such as fees for ancillary services – may shrink that part of the balloon. But

          it will also, at the same time, increase the size of another part of the balloon – servicing

          fees.

66.       While FHFA and the GSEs authorize fees for ancillary services, they are at the same time

          careful to prohibit fees that may impair a borrower's ability to afford their loans. For

          example, Freddie Mac prohibits servicers from charging borrowers “any processing fee

          or other administrative fee in connection with the processing of a loan modification”

          because loan modifications are designed to make a delinquent borrower’s loan affordable

          to the borrower.52 In addition, the GSEs require servicers to waive fees they could

          otherwise charge if the waiver helps modify a delinquent loan. For example, Fannie Mae

          requires servicers “waive all late charges, penalties, stop payment fees, or similar charges

          upon the borrower's conversion to a permanent mortgage loan modification.”53

67.       The plaintiffs benefited from the FHFA and GSE approach to servicing economics. The

          fees they paid supported lower interest rates on the loans they paid off as well as on the

          new loans that replaced the paid off loans. Moreover, I have not seen any evidence that

          the plaintiffs were harmed by the fees. They were able to pay the fees and the fees did

          not keep the plaintiffs from qualifying for new loans.


52
      Freddie Mac, Seller/Servicer Guide, 9206.15, Expenses, delinquent amounts, capitalization rules and expense
      reimbursement for modifications (Effective 02/12/2025).
53
      Fannie Mae, Servicing Guide, D2-3.2-06, Fannie Mae Flex Modification (11/13/2024).


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                   B.       Nationstar’s Payoff-Statement Policies and Procedures are Designed
                            to Comply with Industry Standards and Applicable Law

68.       As explained above, I have been responsible for servicer oversight and legal compliance

          work throughout my career – including my leadership of MHA, which oversaw the

          servicing of more than 90% of all mortgage loans in the U.S. Based on my experience, it

          is my opinion that the policies and procedures Nationstar follows in connection with the

          expedited production and delivery of payoff statements are designed to comply with

          industry standards and applicable law.

69.       Under those policies and procedures, Nationstar provides borrowers in Maryland and

          Washington with payoff statements by mail at no charge.54 Nationstar sends statements

          within three business days of a borrower’s request even though, under federal law,

          Nationstar has, in general, seven business days to send statements.55 Moreover, a

          borrower may request multiple payoff statements by mail at no charge even though,

          under GSE guidelines, Nationstar is authorized to charge for “more than one payoff

          statement in a short period of time.”56

70.       A borrower may request expedited delivery of a payoff statement by Nationstar.

          Nationstar charges for expedited delivery but only after taking steps to ensure the

          borrower consents to the charge. A borrower may elect to order expedited delivery only

          after they are informed of the fee for the service and they affirmatively consent to the




54
      Revised Declaration of Courtney Ehinger, Salom et al. v. Nationstar Mortgage LLC et al., United States District
      Court for the Western District of Washington, Case No. 2:24-cv-00444-BJR (November 2024) (“Ehinger
      Declaration”), ¶ 8.
55
      Ehinger Declaration, ¶ 8; NSM_SALOM 020023.
56
      NSM_SALOM 019943-19944; Fannie Mae, Servicing Guide, § A2-3-05, Fees for Certain Servicing Activities
      (11/08/2017).


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          fee.57 For example, before Ms. Palazzo could order expedited delivery of her payoff

          statement on Nationstar’s web site, she had to read a disclosure that there was a fee for

          expedited delivery and she had to affirmatively consent to paying the fee.

71.       Nationstar’s payoff-statement policies and procedures account for state restrictions on

          fees for expedited deliveries of payoff statements. In Maryland and Washington,

          Nationstar charges $25 for expedited delivery. In states that cap the amount Nationstar

          can charge, however, Nationstar charges only the amount allowed by the state. For

          example, Georgia allows servicers to charge a maximum of $10 for expedited delivery

          and, therefore, Nationstar charges that amount for Georgia loans.58 In addition,

          Nationstar does not charge any fee for expedited delivery in those states that prohibit the

          fees, including Alabama, Indiana and Iowa.59 In Maryland and Washington, the states for

          plaintiffs’ loans, the states do not restrict expedited-delivery fees.

72.       Nationstar’s policies and procedures also account for the fact that some government

          insurers of mortgage loans limit the amounts a servicer can charge for expedited delivery

          of a payoff statement. For example, as explained above, while FHA allows servicers to

          charge a fee for expedited delivery, FHA also caps the fee at $5.60 To manage this

          limitation, Nationstar determines whether a loan is insured by FHA before charging a fee

          for expedited delivery and, if the loan is an FHA loan, Nationstar only charges $5.61




57
      Ehinger Declaration, ¶¶ 17-18.
58
      NSM_SALOM 019943.
59
      NSM_SALOM 019942-19943.
60
      Federal Housing Administration, FHA Single Family Housing Policy Handbook 4000.1 (January 10, 2025), §
      III.A.1.f.ii.A., at 1172 & Appendix 3.0.
61
      Ehinger Declaration, ¶ 10.


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73.       All of Nationstar’s payoff-statement policies and procedures are reviewed by Nationstar’s

          counsel for compliance with industry standards and applicable laws.62 In addition,

          Nationstar has invested millions of dollars in software and hardware to ensure that, when

          its systems provides a payoff statement pursuant to a request for expedited delivery of a

          payoff statement, the statement is accurate and complete and any fees Nationstar charges

          comply with industry standards and applicable law.63 The industry standards and laws

          that govern the expedited production of payoff statements are coded into the systems.

74.       In the report he submitted for plaintiffs, Mr. Tarter claims that, at Nationstar, “internal

          systems and processes (guard rails) may have been specifically designed to not detect”

          allegedly unauthorized charges of expedited-service fees to borrowers.64 But Mr. Tarter

          does not substantiate this claim. He does not identify a single Nationstar policy,

          procedure or practice that “was specifically designed to not detect” any breach of

          borrower contracts or violations of law.

75.       Moreover, the Nationstar policies and procedures Mr. Tarter does cite support a

          completely different conclusion. Among other things, Mr. Tarter makes the following

          observations regarding Nationstar’s compliance with borrower contracts and the law.65

                    i.        “Nationstar and every major loan servicer I know has a
                              Compliance Department as well as internal external auditors,
                              extensive policies and procedures and internal controls and
                              systems for the loans they service.”
                    ii.       Nationstar’s Code of Business Conduct and Ethics is “relatively
                              similar to other financial institutions that engage in loan servicing



62
      Ehinger Declaration, ¶ 9.
63
      Ehinger Declaration, ¶ 15.
64
      Tarter Report, at 13.
65
      Tarter Report, at 11, 13 & 14.


                                                        26
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                      including the requirement to comply with the laws and regulations
                      that apply to their business.”

76.    Finally, I have not seen any evidence in the materials I reviewed for this case regarding

       Nationstar’s policies, procedures and practices that Nationstar is ignoring its compliance

       obligations. Instead, as explained above, I have observed the exact opposite.

77.    In sum, Mr. Tarter’s claim that Nationstar “may have” have had policies and procedures

       “specifically designed to not detect” breaches of borrower contracts and violations of law

       is based entirely on baseless speculation.

VI.    Conclusion

78.    It is well established under industry standards that servicers are permitted to charge a fee

       for expediting the delivery of payoff statements, and Nationstar’s policies and procedures

       are designed to comply with those standards and applicable law.




                                             Respectfully submitted,



                                             __________________________________
                                             Marcel Bryar




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Appendix A

Materials Produced in this Case

NSM_SALOM 000001-020055

Pleadings
Amended Complaint, Salom et al. v. Nationstar Mortgage LLC et al., United States District
Court for the Western District of Washington, Case No. 2:24-cv-00444-BJR (May 30, 2024)

Depositions
Deposition of Nationstar Mortgage LLC Corp Rep, Salom et al. v. Nationstar Mortgage LLC et
al., United States District Court for the Western District of Washington, Case No. 2:24-cv-00444-
BJR (March 11, 2025) and exhibits thereto
Videotaped Zoom Deposition of Peter Hackinen, Salom et al. v. Nationstar Mortgage LLC et al.,
United States District Court for the Western District of Washington, Case No. 2:24-cv-00444-
BJR (February 12, 2025) and exhibits thereto

Oral and Videotaped Deposition of Courtney Ehinger, Salom et al. v. Nationstar Mortgage LLC
et al., United States District Court for the Western District of Washington, Case No. 2:24-cv-
00444-BJR (January 14, 2025) and exhibits thereto

Zoom Deposition of Ricardo Salom, Salom et al. v. Nationstar Mortgage LLC et al., United
States District Court for the Western District of Washington, Case No. 2:24-cv-00444-BJR
(February 10, 2025) and exhibits thereto
Videotaped Zoom Deposition of Catherine Palazzo, Salom et al. v. Nationstar Mortgage LLC et
al., United States District Court for the Western District of Washington, Case No. 2:24-cv-00444-
BJR (February 12, 2025) and exhibits thereto
Declarations

Revised Declaration of Courtney Ehinger, Salom et al. v. Nationstar Mortgage LLC et al., United
States District Court for the Western District of Washington, Case No. 2:24-cv-00444-BJR
(November 2024)

Declaration of Richard St. Onge, as Authorized Corporate Designee for the Washington State
Department of Financial Institutions, Salom et al. v. Nationstar Mortgage LLC et al., United
States District Court for the Western District of Washington, Case No. 2:24-cv-00444-BJR
(February 13, 2025)

Declaration of Kathleen Hyland, as Authorized Corporate Designee for the Office of Financial
Regulation in the Maryland Department of Labor, Salom et al. v. Nationstar Mortgage LLC et



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al., United States District Court for the Western District of Washington, Case No. 2:24-cv-00444-
BJR (February 14, 2025)

Declaration of Cristi Richey, as Authorized Corporate Representative for Federal National
Mortgage Association, Salom et al. v. Nationstar Mortgage LLC et al., United States District
Court for the Western District of Washington, Case No. 2:24-cv-00444-BJR (February 14, 2025)

Declaration of Dean Meyer, as Authorized Corporate Designee for Federal Home Loan Mortgage
Corporation, Salom et al. v. Nationstar Mortgage LLC et al., United States District Court for the
Western District of Washington, Case No. 2:24-cv-00444-BJR (February 25, 2025)

Expert Reports Produced by Plaintiffs
Preliminary Report of Andrew G. Pizor, Salom et al. v. Nationstar Mortgage LLC et al., United
States District Court for the Western District of Washington, Case No. 2:24-cv-00444-BJR
(February 7, 2025)

Preliminary Expert Witness Report of David L. Friend, Salom et al. v. Nationstar Mortgage LLC
et al., United States District Court for the Western District of Washington, Case No. 2:24-cv-
00444-BJR (February 7, 2025)

Expert Witness Report of Bernard Jay Patterson, Salom et al. v. Nationstar Mortgage LLC et al.,
United States District Court for the Western District of Washington, Case No. 2:24-cv-00444-
BJR (February 7, 2025)

Expert Report of Thomas A. Tarter, Salom et al. v. Nationstar Mortgage LLC et al., United States
District Court for the Western District of Washington, Case No. 2:24-cv-00444-BJR (February
10, 2025)
Publications

Housing Finance Policy Center, Housing Finance at a Glance: A Monthly Chartbook (January
2025)
GSE and FHA Guidance and Forms

Fannie Mae, Servicing Guide, § A2-3-05, Fees for Certain Servicing Activities (11/08/2017)

Federal Housing Administration, FHA Single Family Housing Policy Handbook 4000.1 (January
10, 2025)

WASHINGTON--Single Family – Fannie Mae/Freddie Mac UNIFORM INSTRUMENT, Form
3048 07/2021 (rev. 09/22), § 15(b)

MARYLAND--Single Family – Fannie Mae/Freddie Mac UNIFORM INSTRUMENT, Form
3021 07/2021, § 15(b)

Fannie Mae, Servicing Guide, F-1-17, Processing a Transfer of Ownership (11/13/2024)

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Freddie Mac, Seller/Servicer Guide, 9206.15, Expenses, delinquent amounts, capitalization rules
and expense reimbursement for modifications (Effective 02/12/2025)

Fannie Mae, Servicing Guide, D2-3.2-06, Fannie Mae Flex Modification (11/13/2024)

Fannie Mae, Servicing Guide, § A2-3-05, Fees for Certain Servicing Activities (11/08/2017)

Government Records

MDLANDREC, available at mdlandrec.net

Financial Agency Agreement for a Homeownership Preservation Program under the Emergency
Economic Stabilization Act of 2008, effective as February 18, 2009, by and between the U.S.
Department of the Treasury and Fannie Mae

Government Reports
“FHFA At-A-Glance,” available at https://www.fhfa.gov/About

Congressional Oversight Panel, “December Oversight Report: A Review of Treasury’s
Foreclosure Prevention Programs,” December 14, 2010

Federal Housing Finance Agency, “Servicing Alignment Initiative Frequently Asked Questions,”
available at https://www.fhfa.gov/faqs/servicing-alignment-initiative

https://www.fhfa.gov/conservatorship
Alternative Mortgage Servicing Compensation Discussion Paper (September 27, 2011)

Servicing Compensation Initiative pursuant to FHFA Directive in Coordination with HUD:
Background and Issues for Consideration (February 2011)
Laws and Regulations
15 U.S.C. 1639g

Housing and Economic Recovery Act of 2008, Pub. L. No. 110-289 (July 30, 2008)

The Sarbanes-Oxley Act of 2002, Pub. L. No. 107-204 (July 30, 2002)

Asset-Backed Securities (Regulation AB), 17 C.F.R. §§ 229.1100 – 229.1125

Federal National Mortgage Association Charter Act, Title III of the National Housing Act, 12
U.S.C. 1716 et seq. (As amended through July 25, 2019), § 309(c)(2);
Federal Home Loan Mortgage Corporation Act, Public Law No. 91-351, 84 Stat. 450 (Approved
July 24, 1970, As amended through January 3, 2023), § 303(e)
Comptroller of the Currency, Interpretive Letter #1069 (August 21, 2006).
81 Fed. Reg. 74382


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38 CFR 36




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Appendix B
                                       Curriculum Vitae
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Yale College, Bachelor of Arts, 1987 – summa cum laude; Honors in History; Phi Beta Kappa.
Yale Law School, Juris Doctor, 1993.
Bar Admissions:
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Commonwealth of Massachusetts (inactive)
Subject Matter Expertise:
Mortgage industry compliance, including compliance with fair lending, servicing and
origination rules.
Mortgage loan origination standards and practices, including underwriting standards,
origination practices and loan processing and closing operations.


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Mortgage servicing standards and practices, including GSE, FHA, VA, USDA, PLS and non-
QM standards, delinquent loan servicing operations, property inspection and preservation
practices, marketing and sale of REO, servicing accounting and the role of servicers,
subservicers and master servicers.
Mortgage securitization standards and practices, including GSE, Ginnie Mae and PLS
securitization operations and investor remittances and reporting.
Economics of mortgage business, including servicing compensation, advances and incentives.
Mortgage technology, including servicing systems, default management systems and loan
origination systems.
Market for residential real estate, including real estate agent practices and property valuation
standards.
Employment:
 2023 – Present     Founder, Horizon Legal PLLC (licensed in the District of Columbia)
 2020 – Present     Co-Founder, Managing Director, Mortgage Policy Advisors LLC
 2017 – Present     Founder, Managing Director, Housing Gears LLC
 2014 – 2022        Co-Founder, Managing Director, Bryar & Wollner LLC
 2012 – 2014        Senior Vice President, Mortgage Bank Operations Executive, JP Morgan
                    Chase & Co., Inc.
 2011 – 2012        Vice President, Credit Loss Vendor Management, Fannie Mae
 2009 – 2011        Vice President, Making Home Affordable Program, Fannie Mae
 2009               Vice President & Deputy General Counsel, Government Initiatives, Fannie
                    Mae
 2007 – 2009        Vice President & Deputy General Counsel, Procurement, Fannie Mae
 2006 – 2007        Director, Policies & Programs, Fannie Mae
 2005               Associate General Counsel, Restatement & Regulatory Agreements,
                    Fannie Mae
 2000 – 2004        Associate General Counsel, eSolutions & Technology, Fannie Mae
 1999 – 2000        Telecommunications Act Counsel, Verizon Communications Inc.
 1996 – 1998        Venture Company Associate, Foley Hoag, LLP
 1995 – 1996        Litigation Associate, Foley Hoag, LLP
 1993 – 1994        Trial Attorney, U.S. Department of Justice, Civil Rights Division, Voting
                    Section
 1988 – 1990        Editor & Research Assistant, Honorable Joseph A. Califano, Jr.
 1987               Carnegie Intern, Carnegie Endowment for International Peace


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Representative Experiences in the Mortgage Industry:
Consulted with mortgage banks regarding origination practices, including marketing,
solicitation, underwriting, processing and closing.
Worked with property inspection and preservation companies on their operations and
technology.
Developed data and workflow systems for the origination, processing, closing and servicing of
mortgage loans.
Worked on regulatory and agency guidance regarding the origination and servicing of
mortgage loans.
Consulted with insurance companies regarding lender placed insurance.
Advised mortgage banks regarding compliance with Making Home Affordable program
guidelines and origination and servicing law and regulations.
Led mortgage bank teams responsible for loan boarding, loan transfers and credit bureau
reporting.
Developed and implemented data quality management plan for new loans originated through
mortgage bank’s origination channels.
Re-engineered loan boarding operations that had failed three internal audits.
Led team of 25 staff responsible for reviewing servicing expenses incurred by mortgage servicers.
Saved $177M by re-negotiating relationships with mortgage insurance companies.
Developed new nationwide marketplace for lender-placed insurance premiums.
Led team of 600 staff responsible for developing and implementing MHA.
Coordinated MHA teams, including policy, legal, communications, reporting, finance, planning,
and analysis, technology, and operations functions.
Worked closely with government officials at the U.S. Department of the Treasury, the National
Economic Council, the U.S. Department of Housing and Urban Development and the Federal
Housing Finance Agency on mortgage industry standards.
Re-engineered program management office to establish a formal governance structure for
implementation of MHA.
Led development of common Government Sponsored Enterprise loan modification
programs, persuading each GSE to resolve differences in their approaches and FHFA to mandate
unified approach.
Served as General Counsel for Fannie Mae’s Troubled Assets Relief Program, counseling
TARP team regarding development and implementation of the program.
Developed and implemented multiple listing service data program and short-sale operation,
working with real estate agents across the United States.
Structured and negotiated service, technology and data contracts to support Fannie Mae
business operations, including underwriting, securitization, servicer oversight and portfolio
acquisitions and management.

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Founded and organized compliance and ethics team for Fannie Mae.
Oversaw implementation of regulatory agreements between Fannie Mae and its safety and
soundness regulator at the time, the Office of Federal Housing Enterprise Oversight, governing
Fannie Mae’s risk management practices.
Provided regulatory and joint venture advice to Fannie Mae business team developing
ecommerce platform for originating, underwriting, processing and closing mortgage loans.
Served as legal counsel for credit policy team in connection with the development of mortgage
loan products and origination standards.
Litigated accounting malpractice cases involving mortgage banks.
Researched and wrote papers on founding of GSEs and securitization of mortgage loans.




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Appendix C

Expert Deposition Testimony of Marcel Bryar in the Past Four Years (as of November 7, 2024)

 No.                                                     Case                                                   Deposition Testimony
 1     County of Cook v. Bank of America Corporation, Bank of America, N.A., Countrywide Financial                      2021
       Corporation, Countrywide Home Loans, Inc., Countrywide Bank, FSB, Countrywide Warehouse
       Lending, LLC, BAC Home Loans Servicing, LP, Merrill Lynch & Co., Inc., Merrill Lynch Mortgage
       Capital Inc., and Merrill Lynch Mortgage Lending, Inc., United States District Court for the
       Northern District of Illinois, Case No. 1-14-cv-2280.
 2     Samuel Voss v. Quicken Loans, LLC and Mortgage Electronic Registration Systems, Inc., United                    2021
       States District Court for the Southern District of Ohio, Case No. 1:20-cv-00756.
 3     In re the Matter of the Rehabilitation of: PMI Mortgage Insurance Co., an Arizona corporation;                  2021
       Ocwen Loan Servicing, LLC, et al. v. Evan G. Daniels, Director of the Arizona Department of
       Insurance and as Receiver, of PMI Mortgage Insurance Co., et al., Superior Court for the State of
       Arizona in and for the County of Maricopa, Case No. CV 2011-018944.
 4     Ambac Assurance Corporation v. U.S. Bank National Association, United States District for the                   2021
       Southern District of New York, Case No. 17-cv-2614.
 5     National Credit Union Administration Board et al. v. Deutsche Bank National Trust Co., United                   2021
       States District Court for the Southern District of New York, Case No. 14-cv-8919.
 6     National Fair Housing Alliance et al. v. Bank of America, National Association et al., United States            2022
       District Court for the District of Maryland, Case No. 1:18-cv-1919.
 7     U.S. Mortgage Finance, LLC et al. v. BAC Florida Bank, Circuit Court of the Eleventh Judicial                   2022
       Circuit in and for Miami-Dade County, Florida, Case No. 2020-009959-CA-01.
 8     HSBC Bank USA, N.A. v. PHH Mortgage Corporation, Supreme Court of the State of New York,                        2022
       County of New York, Index No. 655868/2020.
 9     National Fair Housing Alliance, et al. v. Deutsche Bank National Trust, et al., United States District          2023
       Court for the Northern District of Illinois, Case No. 18-cv-839.
 10    Donna Kemp v. Seterus, Inc. and Federal National Mortgage Association, United States District                   2023
       Court for the District of Maryland, Case No. 8:18-cv-00472.
 11    Freedom Mortgage Corporation v. LoanCare, LLC, United States District Court for the District of                 2023
       New Jersey, Case No. 1:16-cv-02569.
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12   PRCM Advisers LLC, Pine River Capital Management L.P., and Pine River Domestic Management              2023
     L.P. vs. Two Harbors Investment Corp., United States District Court for the Southern District of
     New York, Case No. 1:20-cv-05649.
13   LoanCare, LLC, v. DIMONT & Associates, LLC, & Investor Claim Solutions, LLC, United States             2024
     District Court for the Southern District of New York, Case No. 1:22-cv-09286.
14   Federal Deposit Insurance Corporation as Receive for Washington Mutual Bank v. Ark-La-Tex              2024
     Financial Services, LLC, d/b/a Benchmark Mortgage, United States District Court for the Central
     District of California, Case No. 8:22-cv-01491.
15   Commerzbank AG v. Deutsche Bank National Trust Company and Deutsche Bank Trust Company                 2024
     Americas, United States District Court for the Southern District of New York, Case No. 15-cv-
     10031-JGK.
16   IKB International, S.A., et al. v. The Bank of New York et al., Supreme Court of the State of New      2024
     York, County of New York, Index No. 654438/2015, IAS Part 60 (Crane, J.).
17   IKB International, S.A., et al. v. U.S. Bank National Association, Supreme Court of the State of New   2024
     York, County of New York, Index No. 654442/2015, IAS Part 60 (Crane, J.).
18   IKB International, S.A., et al. v. Deutsche Bank National Trust Company, et al., Supreme Court of      2024
     the State of New York, County of New York, Index No. 654439/2015, IAS Part 60 (Crane, J.).
19   loanDepot.com, LLC v. CrossCountry Mortgage, LLC et al., JAMS Alternative Dispute Resolution,          2024
     JAMS Case NO. 5240000056.
20   National Credit Union Administrative Board, as liquidating agent of U.S. Central Federal Credit        2024
     Union, Western Corporate Federal Credit Union, and Southwest Corporate Federal Union, against
     U.S. Bank National Association, United States District Court for the Southern District of New York,
     Case No. 18-cv-11366-LLS.
